   Case 17-30955-JKS            Doc 39     Filed 01/15/19 Entered 01/15/19 11:41:45                 Desc Main
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UNITED STATES BANKRUPTY COURT
DISTRICT OF NEW JERSEY
Marie-Ann Greenberg MAG-1284
Marie-Ann Greenberg, Standing Trustee
30 TWO BRIDGES ROAD
SUITE 330
FAIRFIELD, NJ 07004-1550
973-227-2840
Chapter 13 Standing Trustee


IN RE:

NAEMA T. SMITH,                                                 Case No.: 17-30955 JKS


                                     Debtor

                                NOTICE DEPOSITING UNCLAIMED FUNDS
                                    PURSUANT TO D.N.J. LBR 7067-1

    Marie-Ann Greenberg, Trustee in the above captioned matter, states that the entire amount in the Trustee's
Account has been disbursed and that the following funds remain unclaimed. The undersigned shall immediately
forward a check to the Court in the amount of $5,096.40, payable to the Clerk, United States Bankruptcy Court.
The party entitled to said funds is listed below together with the last known address and other additional
information.

Payee Name & Address:       NAEMA T. SMITH - Debtor's Refund
                            439 S. CLINTON STREET
                            EAST ORANGE, NJ 07018

Amount:                     $5,096.40

Trustee Claim Number:       0

Reason:                      Not Cashing


                                                          By:    /S/ Marie-Ann Greenberg
Dated: January 15, 2019                                          MARIE-ANN GREENBERG
                                                                 CHAPTER 13 STANDING TRUSTEE
